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  Fill in this information to identify your case and this filing:
  Debtor 1               Christopher                 Anthony              Payne
                         First Name                  Middle Name          Last Name

  Debtor 2            Alyce                          Rygiel               Payne
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number            16-41533                                                                                                   Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
5605 Glenbrook Circle                                      Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Plano                            TX       75093                Manufactured or mobile home                               $821,837.00                  $821,837.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Collin                                                                                                       entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Homestead
                                                           Who has an interest in the property?
                                                           Check one.
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $821,837.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 1
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Debtor 1         Christopher              Anthony               Payne                                Case number (if known)         16-41533
                 First Name               Middle Name           Last Name

3.1.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Chevrolet                 Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Equinox
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2012
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 86,000                                 At least one of the debtors and another             $9,000.00                             $9,000.00
Other information:
2012 Chevrolet Equinox (approx.                             Check if this is community property
86000 miles)                                                (see instructions)

3.2.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Ford                      Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Escape
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2003
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 103,000                                At least one of the debtors and another             $3,000.00                             $3,000.00
Other information:
2003 Ford Escape (approx. 103000                            Check if this is community property
miles)                                                      (see instructions)

3.3.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Ford                      Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Thunderbird
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2002
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 105,000                                At least one of the debtors and another             $1,000.00                             $1,000.00
Other information:
2002 Ford Thunderbird (approx.                              Check if this is community property
105000 miles)                                               (see instructions)
Not working
3.4.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Dodge                     Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Stealth
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         1993                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 105,000                                At least one of the debtors and another             $1,000.00                             $1,000.00
Other information:
1993 Dodge Stealth (approx. 105000                          Check if this is community property
miles)                                                      (see instructions)
Not working
3.5.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Buick                     Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Enclave
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2016
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 5,500                                  At least one of the debtors and another                   $0.00                               $0.00
Other information:
Leased 2016 Buick Enclave (approx.                          Check if this is community property
5500 miles)                                                 (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $14,000.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1         Christopher                    Anthony                    Payne                                     Case number (if known)             16-41533
                 First Name                     Middle Name                Last Name


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $5,850.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $2,950.00

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Bicycles (5) and carpentry tools                                                                                                           $2,500.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Fur coat; daily clothes                                                                                                                    $2,500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Diamond ring, costume jewelry, watches, diamond earrings                                                                                   $3,500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................     $17,300.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Christopher                      Anthony                          Payne                                           Case number (if known)                   16-41533
                 First Name                       Middle Name                      Last Name


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
                                                                                                                                                                                                                  $600.00
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

            17.1.       Checking account:                      Premier Bank Checking account                                                                                                               $688.22
            17.2.       Checking account:                      Bank of the Ozarks Checking account                                                                                                           $43.16
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

                                               IBM - 21 shares @ 159.40                                                                                                                                $3,347.40
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                          % of ownership:

                                               National Citrus Product - 20,000 shares                                                                           1%                                            $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.               Type of account:                   Institution name:
                                             Retirement account:                J.P. Morgan Chase Retirement account                                                                                       $550.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Christopher                   Anthony                   Payne                           Case number (if known)    16-41533
                 First Name                    Middle Name               Last Name

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                         Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                          State:                    $0.00
           and the tax years.....................................
                                                                                                                                  Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                            Alimony:                               $0.00
                                                                                                                     Maintenance:                           $0.00

                                                                                                                     Support:                               $0.00

                                                                                                                     Divorce settlement:                    $0.00
                                                                                                                     Property settlement:                   $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


Official Form 106A/B                                                         Schedule A/B: Property                                                          page 5
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Debtor 1         Christopher                  Anthony                      Payne                                     Case number (if known)             16-41533
                 First Name                   Middle Name                  Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $5,228.78


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................
                              Office equipment, furniture and computers                                                                                                    $2,500.00

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Christopher                   Anthony                    Payne                                     Case number (if known)             16-41533
                  First Name                    Middle Name                Last Name

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................     $2,500.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Christopher                   Anthony                        Payne                                         Case number (if known)                16-41533
                   First Name                    Middle Name                    Last Name


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $821,837.00

56. Part 2: Total vehicles, line 5                                                                                  $14,000.00

57. Part 3: Total personal and household items, line 15                                                             $17,300.00

58. Part 4: Total financial assets, line 36                                                                           $5,228.78

59. Part 5: Total business-related property, line 45                                                                  $2,500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $39,028.78              property total                 +           $39,028.78



63. Total of all property on Schedule A/B.                                                                                                                                                  $860,865.78
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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Debtor 1     Christopher        Anthony              Payne                            Case number (if known)   16-41533
             First Name         Middle Name          Last Name


6.   Household goods and furnishings (details):

     Living room furniture                                                                                                    $1,000.00

     Den furniture                                                                                                             $650.00

     Dining room furniture                                                                                                     $500.00

     Kitchen items                                                                                                            $1,000.00

     Master bedroom furniture                                                                                                  $500.00

     Bedroom # 2 furniture                                                                                                     $350.00

     Bedroom #3 furniture                                                                                                      $350.00

     Bedroom #4 furniture                                                                                                      $350.00

     Garage items                                                                                                              $150.00

     Bedroom #5 furniture                                                                                                      $350.00

     Playroom                                                                                                                  $650.00

7.   Electronics (details):

     TV and electronics in living room                                                                                        $1,500.00

     TV and Electronics in Den                                                                                                 $500.00

     TV in kitchen                                                                                                              $50.00

     TV and electronics in Master bedroom                                                                                      $500.00

     TV in Bedroom #2                                                                                                           $50.00

     TV and electronics in Playroom                                                                                            $350.00




Official Form 106A/B                                      Schedule A/B: Property                                                  page 9
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 Fill in this information to identify your case:
 Debtor 1            Christopher            Anthony                Payne
                     First Name             Middle Name            Last Name
 Debtor 2            Alyce                  Rygiel                 Payne
 (Spouse, if filing) First Name             Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                       Check if this is an
 Case number         16-41533                                                                                          amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                  04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?               Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on             Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                     the portion you      exemption you claim
                                                          own
                                                          Copy the value from Check only one box for
                                                          Schedule A/B        each exemption


Brief description:                                          $821,837.00                 $241,777.00         Const. art. 16 §§ 50, 51, Texas
5605 Glenbrook Circle                                                               100% of fair market     Prop. Code §§ 41.001-.002
                                                                                    value, up to any
Line from Schedule A/B:      1.1
                                                                                    applicable statutory
                                                                                    limit

Brief description:                                            $9,000.00                  $9,000.00          Tex. Prop. Code §§ 42.001(a),
2012 Chevrolet Equinox (approx. 86000                                               100% of fair market     42.002(a)(9)
miles)                                                                              value, up to any
Line from Schedule A/B: 3.1                                                         applicable statutory
                                                                                    limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                Schedule C: The Property You Claim as Exempt                                                page 1
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Debtor 1      Christopher          Anthony              Payne                             Case number (if known)    16-41533
              First Name           Middle Name          Last Name


 Part 2:        Additional Page
Brief description of the property and line on        Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                the portion you       exemption you claim
                                                     own
                                                     Copy the value from Check only one box for
                                                     Schedule A/B        each exemption

Brief description:                                          $3,000.00               $3,000.00          Tex. Prop. Code §§ 42.001(a),
2003 Ford Escape (approx. 103000 miles)                                         100% of fair market    42.002(a)(9)
                                                                                value, up to any
Line from Schedule A/B:     3.2
                                                                                applicable statutory
                                                                                limit

Brief description:                                          $1,000.00               $1,000.00          Tex. Prop. Code §§ 42.001(a),
2002 Ford Thunderbird (approx. 105000                                           100% of fair market    42.002(a)(9)
miles)                                                                          value, up to any
Not working                                                                     applicable statutory
Line from Schedule A/B: 3.3                                                     limit

Brief description:                                          $1,000.00               $1,000.00          Tex. Prop. Code §§ 42.001(a),
1993 Dodge Stealth (approx. 105000                                              100% of fair market    42.002(a)(9)
miles)                                                                          value, up to any
Not working                                                                     applicable statutory
Line from Schedule A/B: 3.4                                                     limit

Brief description:                                           $0.00                       $0.00         Tex. Prop. Code §§ 42.001(a),
Leased 2016 Buick Enclave (approx. 5500                                         100% of fair market    42.002(a)(9)
miles)                                                                          value, up to any
Line from Schedule A/B: 3.5                                                     applicable statutory
                                                                                limit

Brief description:                                          $1,000.00               $1,000.00          Tex. Prop. Code §§ 42.001(a),
Living room furniture                                                           100% of fair market    42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:     6
                                                                                applicable statutory
                                                                                limit

Brief description:                                          $650.00                  $650.00           Tex. Prop. Code §§ 42.001(a),
Den furniture                                                                   100% of fair market    42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:     6
                                                                                applicable statutory
                                                                                limit

Brief description:                                          $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Dining room furniture                                                           100% of fair market    42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:     6
                                                                                applicable statutory
                                                                                limit

Brief description:                                          $1,000.00               $1,000.00          Tex. Prop. Code §§ 42.001(a),
Kitchen items                                                                   100% of fair market    42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:     6
                                                                                applicable statutory
                                                                                limit

Brief description:                                          $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
Master bedroom furniture                                                        100% of fair market    42.002(a)(1)
                                                                                value, up to any
Line from Schedule A/B:     6
                                                                                applicable statutory
                                                                                limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                           page 2
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Debtor 1      Christopher         Anthony              Payne                            Case number (if known)    16-41533
              First Name          Middle Name          Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you       exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                         $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
Bedroom # 2 furniture                                                          100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
Bedroom #3 furniture                                                           100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
Bedroom #4 furniture                                                           100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Garage items                                                                   100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
Bedroom #5 furniture                                                           100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $650.00                  $650.00           Tex. Prop. Code §§ 42.001(a),
Playroom                                                                       100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $1,500.00               $1,500.00          Tex. Prop. Code §§ 42.001(a),
TV and electronics in living room                                              100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
TV and Electronics in Den                                                      100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit

Brief description:                                          $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
TV in kitchen                                                                  100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                           page 3
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Debtor 1      Christopher         Anthony              Payne                            Case number (if known)    16-41533
              First Name          Middle Name          Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you       exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                         $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
TV and electronics in Master bedroom                                           100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit

Brief description:                                          $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
TV in Bedroom #2                                                               100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
TV and electronics in Playroom                                                 100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     7
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $2,500.00               $2,500.00          Tex. Prop. Code §§ 42.001(a),
Bicycles (5) and carpentry tools                                               100% of fair market    42.002(a)(8)
                                                                               value, up to any
Line from Schedule A/B:     9
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $2,500.00               $2,500.00          Tex. Prop. Code §§ 42.001(a),
Fur coat; daily clothes                                                        100% of fair market    42.002(a)(5)
                                                                               value, up to any
Line from Schedule A/B:     11
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $3,500.00               $3,500.00          Tex. Prop. Code §§ 42.001(a),
Diamond ring, costume jewelry, watches,                                        100% of fair market    42.002(a)(6)
diamond earrings                                                               value, up to any
Line from Schedule A/B: 12                                                     applicable statutory
                                                                               limit

Brief description:                                         $550.00                  $550.00           Tex. Prop. Code § 42.0021
J.P. Morgan Chase Retirement account                                           100% of fair market
                                                                               value, up to any
Line from Schedule A/B:     21
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $2,500.00               $2,500.00          Tex. Prop. Code §§ 42.001(a),
Office equipment, furniture and computers                                      100% of fair market    42.002(a)(1)
                                                                               value, up to any
Line from Schedule A/B:     39
                                                                               applicable statutory
                                                                               limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                           page 4
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  Fill in this information to identify your case:
  Debtor 1               Christopher            Anthony              Payne
                         First Name             Middle Name          Last Name

  Debtor 2            Alyce                     Rygiel               Payne
  (Spouse, if filing) First Name                Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number            16-41533                                                                                        Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one               Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As            Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the           Do not deduct the      that supports this     portion
        creditor's name.                                                                   value of collateral    claim                  If any

  2.1                                              Describe the property that
                                                   secures the claim:                           $580,060.00             $821,837.00
Wells Fargo
Creditor's name
                                                   5605 Glenbrook Cr., Plano,
P.O. Box 14411                                     Texas
Number       Street


                                                   As of the date you file, the claim is: Check all that apply.
                                                       Contingent
Des Moines                IA      50306-3411           Unliquidated
City                      State   ZIP Code
                                                       Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage Loan
   to a community debt
Date debt was incurred            9/19/2003        Last 4 digits of account number        7     4    7    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $580,060.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                              $580,060.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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  Fill in this information to identify your case:
  Debtor 1             Christopher               Anthony               Payne
                       First Name                Middle Name           Last Name

  Debtor 2            Alyce                      Rygiel                Payne
  (Spouse, if filing) First Name                 Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number          16-41533                                                                                           Check if this is an
  (if known)
                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                     12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim         Priority              Nonpriority
                                                                                                                          amount                amount

     2.1                                                                                                $120,000.00           $120,000.00              $0.00
Internal Revenue Service
Priority Creditor's Name                                       Last 4 digits of account number
Centralized Insolvency Operations                              When was the debt incurred?        2011-2015
Number       Street
P. O. Box 7346                                                 As of the date you file, the claim is: Check all that apply.
                                                                   Contingent
                                                                   Unliquidated
Philadelphia                    PA        19101-7346               Disputed
City                            State     ZIP Code
Who incurred the debt?        Check one.                       Type of PRIORITY unsecured claim:
     Debtor 1 only                                                Domestic support obligations
     Debtor 2 only                                                Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                   Claims for death or personal injury while you were
     At least one of the debtors and another                      intoxicated
     Check if this claim is for a community debt                  Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Christopher               Anthony               Payne                            Case number (if known)      16-41533
               First Name                Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $28,559.48
Buick Financial                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
P.O. Box 100
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Williamsville                   NY        14231
City                            State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt                Auto Lease
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $1,500.00
Ford Motor Co. Credit                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
3660 Regent Blvd.
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Irving                          TX        75063
City                            State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt                2002 car loan
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                page 2
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Debtor 1       Christopher             Anthony               Payne                           Case number (if known)       16-41533
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.3                                                                                                                                 $30,000.00
Jan Clements                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        2003
Two Galleria Tower
Number        Street                                       As of the date you file, the claim is: Check all that apply.
13455 Noel Road, Ste 1800                                      Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                        TX        75240
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Loan
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $100,000.00
Navient (Student Loans)                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        2004
P.O. Box 9500
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Wilkes-Barre                  PA        18773-9500
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                       $0.00
Novo Point, LLC et al                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
c/o Travis Crabtree
Number        Street                                       As of the date you file, the claim is: Check all that apply.
1300 Post Oak Blvd., Ste 2000                                  Contingent
                                                               Unliquidated
                                                               Disputed
Houston                       TX        77056
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Lawsuit
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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Debtor 1       Christopher             Anthony               Payne                           Case number (if known)       16-41533
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.6                                                                                                                                $375,000.00
Petroff & Assoc., L.L.P.& Kip Petroff                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        12/2014
c/o Alisa S. Richman
Number        Street                                       As of the date you file, the claim is: Check all that apply.
304 S. Record St., Ste 100                                     Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                        TX        75202
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Judgment
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                       $0.00
Robert E. Jenkins                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
Jenkins Law
Number        Street                                       As of the date you file, the claim is: Check all that apply.
13904 Josey Lane, #81592                                       Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                        TX        75381
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Receiver
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                 $88,000.00
Shackelford Bowen McKinley & Norton, LLP                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        1/2013
9201 N. Central Expwy, 4th Fl
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Dallas                        TX        75231
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Judgment
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor 1       Christopher             Anthony               Payne                           Case number (if known)       16-41533
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.9                                                                                                                                 $38,000.00
States Resources                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        7/2008
c/o Martin J. Lehman, P.C.
Number        Street                                       As of the date you file, the claim is: Check all that apply.
Palmer & Manuel, L.L.P.                                        Contingent
8350 N. Central Expwy, Ste 1111                                Unliquidated
                                                               Disputed
Dallas                        TX        75206
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Judgment
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                   $3,000.00
Thomas Payne and wife Janelle Payne                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
868 Windridge Circle
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
San Marcos                    CA        92069
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Loan
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $300,000.00
Thomas W. Payne and wife Elizabeth Payne                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?        2004 - 2009
c/o Payne Broder & Fossee, P.C.
Number        Street                                       As of the date you file, the claim is: Check all that apply.
32100 Telegraph Rd., Ste 200                                   Contingent
                                                               Unliquidated
                                                               Disputed
Bingham Farms                 MI        48025
City                          State     ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt              Loan
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5
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Debtor 1       Christopher              Anthony                 Payne                          Case number (if known)      16-41533
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                     Total claim

Total claims        6a. Domestic support obligations                                                       6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                               6b.            $120,000.00

                    6c. Claims for death or personal injury while you were intoxicated                     6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.            6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                              6d.            $120,000.00




                                                                                                                     Total claim

Total claims        6f.     Student loans                                                                  6f.            $100,000.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                       6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                        6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.     6i.   +        $864,059.48


                    6j.     Total.   Add lines 6f through 6i.                                              6j.            $964,059.48




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
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 Fill in this information to identify your case:
 Debtor 1             Christopher            Anthony               Payne
                      First Name             Middle Name           Last Name

 Debtor 2            Alyce                   Rygiel                Payne
 (Spouse, if filing) First Name              Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          16-41533                                                                                        Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      GM Financial                                                                 Car Lease
          Name                                                                         Contract to be ASSUMED
          P.O. 100
          Number     Street



          Williamsville                                NY        14231
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Christopher                Anthony                  Payne
                       First Name                 Middle Name              Last Name

 Debtor 2            Alyce                        Rygiel                   Payne
 (Spouse, if filing) First Name                   Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number           16-41533                                                                                               Check if this is an
 (if known)
                                                                                                                              amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?            (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                    Texas      Fill in the name and current address of that person.

                Alyce Rygiel Payne
                Name of your spouse, former spouse, or legal equivalent
                5605 Glenbrook Circle
                Number          Street


                Plano                                              TX            75093
                City                                               State         ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                   Check all schedules that apply:

3.1      The Law Office of Christopher A. Payne
         Name                                                                                            Schedule D, line
         9101 LBJ Frwy., Ste 760                                                                         Schedule E/F, line        4.6
         Number        Street
                                                                                                         Schedule G, line

         Dallas                                            TX              75243                   Petroff & Assoc., L.L.P.& Kip Petroff
         City                                              State           ZIP Code




Official Form 106H                                                  Schedule H: Your Codebtors                                                           page 1
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Debtor 1      Christopher        Anthony               Payne                           Case number (if known)      16-41533
              First Name         Middle Name           Last Name


               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt

                                                                                        Check all schedules that apply:

3.2    The Law Office of Christopher A. Payne
       Name                                                                                  Schedule D, line
       9101 LBJ Frwy., Ste 760                                                               Schedule E/F, line
       Number        Street
                                                                                                                      4.7
                                                                                             Schedule G, line

       Dallas                                  TX             75243                     Robert E. Jenkins
       City                                    State          ZIP Code


3.3    The Law Office of Christopher A. Payne
       Name                                                                                  Schedule D, line
       9101 LBJ Frwy., Ste 760                                                               Schedule E/F, line
       Number        Street
                                                                                                                      4.8
                                                                                             Schedule G, line

       Dallas                                  TX             75243                     Shackelford Bowen McKinley & Norton, LLP
       City                                    State          ZIP Code


3.4    The Law Office of Christopher A. Payne
       Name                                                                                  Schedule D, line
       9101 LBJ Frwy., Ste 760                                                               Schedule E/F, line       4.9
       Number        Street
                                                                                             Schedule G, line

       Dallas                                  TX             75243                     States Resources
       City                                    State          ZIP Code




Official Form 106H                                        Schedule H: Your Codebtors                                               page 2
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 Fill in this information to identify your case:
     Debtor 1              Christopher            Anthony                Payne
                           First Name             Middle Name            Last Name                           Check if this is:
     Debtor 2              Alyce                  Rygiel                 Payne                                    An amended filing
     (Spouse, if filing)   First Name             Middle Name            Last Name
                                                                                                                  A supplement showing postpetition
     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS
                                                                                                                  chapter 13 income as of the following date:
     Case number           16-41533
     (if known)
                                                                                                                  MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                               Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status               Employed                                           Employed
      with information about                                            Not employed                                       Not employed
      additional employers.
                                        Occupation               Attorney                                           Homemaker
      Include part-time, seasonal,
      or self-employed work.            Employer's name          The Law Office of Christopher A. Payne

      Occupation may include            Employer's address       9101 LBJ Frwy., Ste 760
      student or homemaker, if it                                Number Street                                      Number Street
      applies.




                                                                 Dallas                       TX      75243
                                                                 City                         State   Zip Code      City                      State   Zip Code

                                        How long employed there?          13 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1            For Debtor 2 or
                                                                                                                      non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                 $20,000.00                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                        3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                   4.            $20,000.00                    $0.00




Official Form 106I                                              Schedule I: Your Income                                                                   page 1
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Debtor 1 Christopher                          Anthony                           Payne                                           Case number (if known)       16-41533
           First Name                         Middle Name                       Last Name
                                                                                                                   For Debtor 1                 For Debtor 2 or
                                                                                                                                                non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $20,000.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $2,400.00                       $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.               $0.00                       $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.               $0.00                       $0.00
     5d. Required repayments of retirement fund loans                                                      5d.               $0.00                       $0.00
     5e. Insurance                                                                                         5e.               $0.00                       $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00                       $0.00
     5g. Union dues                                                                                        5g.               $0.00                       $0.00
     5h. Other deductions.
          Specify:                                                                                         5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $2,400.00                       $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.          $17,600.00                        $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                    $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                            8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                    $0.00
     8e. Social Security                                                                                   8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                         10.         $17,600.00           +            $0.00      =     $17,600.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                               11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.           $17,600.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                      Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor expects to resolve at lease one contingency fee case
        Yes. Explain:



Official Form 106I                                                              Schedule I: Your Income                                                                          page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Christopher            Anthony                Payne                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Alyce                  Rygiel                 Payne
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           16-41533
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's          Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age                  live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                                No
                                                                                                                                               Yes
      Do not state the dependents'
                                                                                                                                               No
      names.
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                        $3,900.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                        $900.00
      4d. Homeowner's association or condominium dues                                                                4d.                        $200.00




 Official Form 106J                                             Schedule J: Your Expenses                                                            page 1
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Debtor 1 Christopher                Anthony                  Payne                            Case number (if known)       16-41533
            First Name              Middle Name              Last Name

                                                                                                                    Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                               5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                       6a.                      $600.00
     6b. Water, sewer, garbage collection                                                                     6b.                      $200.00
     6c. Telephone, cell phone, Internet, satellite, and                                                      6c.                      $950.00
         cable services
     6d. Other. Specify:                                                                                      6d.

7.   Food and housekeeping supplies                                                                           7.                      $1,750.00
8.   Childcare and children's education costs                                                                 8.                       $300.00
9.   Clothing, laundry, and dry cleaning                                                                      9.                       $150.00
10. Personal care products and services                                                                       10.                      $150.00
11. Medical and dental expenses                                                                               11.                      $150.00
12. Transportation. Include gas, maintenance, bus or train                                                    12.                      $350.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                             13.                      $450.00
    magazines, and books
14. Charitable contributions and religious donations                                                          14.                       $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                                   15a.

     15b.    Health insurance                                                                                 15b.

     15c.    Vehicle insurance                                                                                15c.                     $200.00
     15d.    Other insurance. Specify:                                                                        15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                                  16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1    Buick Enclave lease                                                17a.                     $493.00
     17b.    Car payments for Vehicle 2                                                                       17b.

     17c.    Other. Specify:                                                                                  17c.

     17d.    Other. Specify:                                                                                  17d.

18. Your payments of alimony, maintenance, and support that you did not report as                             18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify: Mother in law                                                                                    19.                      $350.00




 Official Form 106J                                          Schedule J: Your Expenses                                                    page 2
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Debtor 1 Christopher                  Anthony                  Payne                            Case number (if known)       16-41533
           First Name                 Middle Name              Last Name

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                         20a.

    20b.    Real estate taxes                                                                                   20b.

    20c.    Property, homeowner's, or renter's insurance                                                        20c.

    20d.    Maintenance, repair, and upkeep expenses                                                            20d.

    20e.    Homeowner's association or condominium dues                                                         20e.

21. Other. Specify:                                                                                             21.     +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                             22a.                  $11,143.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                    22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                          22c.                  $11,143.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                        23a.                  $17,600.00
    23b.    Copy your monthly expenses from line 22c above.                                                     23b.    –             $11,143.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                              23c.                    $6,457.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                            Schedule J: Your Expenses                                                    page 3
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 Fill in this information to identify your case:
 Debtor 1                Christopher                   Anthony                       Payne
                         First Name                    Middle Name                   Last Name

 Debtor 2            Alyce                             Rygiel                        Payne
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number             16-41533                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $821,837.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $39,028.78
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                            $860,865.78
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $580,060.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      $120,000.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $964,059.48
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $1,664,119.48




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $17,600.00
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................               $11,143.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Christopher           Anthony                Payne                           Case number (if known)      16-41533
              First Name            Middle Name            Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Christopher            Anthony              Payne
                    First Name             Middle Name          Last Name

 Debtor 2            Alyce                 Rygiel               Payne
 (Spouse, if filing) First Name            Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        16-41533                                                                                    Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                   Attach Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Christopher Anthony Payne                           X /s/ Alyce Rygiel Payne
        Christopher Anthony Payne, Debtor 1                      Alyce Rygiel Payne, Debtor 2

        Date 09/16/2016                                          Date 09/16/2016
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                           Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Christopher            Anthony               Payne
                    First Name             Middle Name           Last Name

 Debtor 2            Alyce                 Rygiel                Payne
 (Spouse, if filing) First Name            Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        16-41533                                                                                    Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1       Christopher               Anthony               Payne                           Case number (if known)    16-41533
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                        Debtor 1                                         Debtor 2

                                                       Sources of income          Gross income          Sources of income           Gross income
                                                       Check all that apply.      (before deductions    Check all that apply.       (before deductions
                                                                                  and exclusions                                    and exclusions

From January 1 of the current year until                   Wages, commissions,          $180,000.00         Wages, commissions,
the date you filed for bankruptcy:                         bonuses, tips                                    bonuses, tips
                                                           Operating a business                             Operating a business


For the last calendar year:                                Wages, commissions,          $225,000.00         Wages, commissions,
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                     Operating a business                             Operating a business


For the calendar year before that:                         Wages, commissions,          $140,000.00         Wages, commissions,
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




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Debtor 1         Christopher            Anthony                Payne                           Case number (if known)      16-41533
                 First Name             Middle Name            Last Name


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Wells Fargo                                                    June 1,           $11,669.50          $580,060.11             Mortgage
Creditor's name                                                2016                                                          Car
P.O. Box 14411                                                 July 1,                                                       Credit card
Number      Street
                                                               2016                                                          Loan repayment
Des Moines IA 50506-3411                                       Aug. 1,                                                       Suppliers or vendors
                                                               2016                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




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Debtor 1        Christopher             Anthony                 Payne                             Case number (if known)     16-41533
                First Name              Middle Name             Last Name

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                      Nature of the case                         Court or agency                               Status of the case
Novo Point v. Katz et al                                                                   401st Dist. Ct., Collin County
                                                                                                                                                   Pending
                                                                                           Court Name
                                                                                           2100 Bloomdale Rd.                                      On appeal
                                                                                           Number     Street
Case number 401-01512-2014                                                                                                                         Concluded

                                                                                           McKinney                 TX        75071
                                                                                           City                     State     ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                             Date               Value of the property
Kip Petroff                                                                                                           May 2016                $200.00
Creditor's Name

6060 N Central Expwy., #500
Number       Street                                             Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
Dallas                                 TX                          Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.




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Debtor 1         Christopher            Anthony                Payne                             Case number (if known)    16-41533
                 First Name             Middle Name            Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

 Part 7:          List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




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Debtor 1       Christopher              Anthony              Payne                           Case number (if known)    16-41533
               First Name               Middle Name          Last Name

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                  Who else has or had access to it?           Describe the contents                     Do you still
                                                                                                                                        have it?

Public Storage                                                                                Christmas Decorations                         No
Name of Storage Facility                          Name                                                                                      Yes
5920 Plano Pkwy
Number      Street                                Number    Street




Plano                       TX      75093
City                        State   ZIP Code      City                   State   ZIP Code

                                                  Who else has or had access to it?           Describe the contents                     Do you still
                                                                                                                                        have it?

U-Haul                                                                                        Household furnishings and                     No
Name of Storage Facility                          Name                                        business records                              Yes
1501 Dallas Pkwy
Number      Street                                Number    Street




Plano                       TX      75093
City                        State   ZIP Code      City                   State   ZIP Code




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Debtor 1        Christopher              Anthony              Payne                           Case number (if known)    16-41533
                First Name               Middle Name          Last Name


  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

            No
            Yes. Fill in the details.

                                                   Where is the property?                      Describe the property                   Value

Stasia Rygiel                                                                                  1974 Mercedes 450 SL                     $20,000.00
Owner's Name

1201 E. Sandy Lake Rd.                             5605 Glenbrook Cir
Number       Street                                Number    Street




Coppell                      TX      75019         Plano                  TX      75093
City                         State   ZIP Code      City                   State   ZIP Code


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.




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Debtor 1       Christopher              Anthony              Payne                             Case number (if known)         16-41533
               First Name               Middle Name          Last Name


  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                Employer Identification number
                                     Legal practice
The Law Office of Christopher A. Payne                                                               Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 2     7 – 0         1    6     6   3   0    6
9101 LBJ Freeway, Ste. 760                        Name of accountant or bookkeeper
Number     Street
                                                  Chris Payne                                        Dates business existed

                                                                                                     From        2009             To   present
Dallas                      TX      75243
City                        State   ZIP Code

                                                  Describe the nature of the business                Employer Identification number
Sandler Payne, PLLC                               Legal practice                                     Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
Sandler Siegel PLLC                               Name of accountant or bookkeeper
Number     Street
                                                                                                     Dates business existed
6600 LBJ Frwy., Ste 183
                                                                                                     From        2013             To     2015
Dallas                      TX      75240
City                        State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
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Debtor 1     Christopher         Anthony              Payne                           Case number (if known)    16-41533
             First Name          Middle Name          Last Name


 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Christopher Anthony Payne                       X /s/ Alyce Rygiel Payne
   Christopher Anthony Payne, Debtor 1                    Alyce Rygiel Payne, Debtor 2

   Date     09/16/2016                                    Date     09/16/2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                           Declaration, and Signature (Official Form 119).




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